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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division


UNITED STATES OF AMERICA,                   )
                                            )
               v.                           )       Case No. 1:21-cr-00245-AJT
                                            )
IGOR Y. DANCHENKO,                          )
                                            )
                      Defendant.            )

                     DEFENDANT IGOR DANCHENKO’S UNOPPOSED
                        MOTION FOR PERMISSION TO TRAVEL

       Defendant IGOR DANCHENKO, by and through counsel, respectfully moves this Court

to allow him to travel out of state for a family vacation between April 8 and April 16, 2022. Mr.

Danchenko would travel to return to the Eastern District of Virginia on April 16, 2022.      Mr.

Danchenko’s Pretrial Services Officer and government counsel do not oppose the request.

       Mr. Danchenko has provided Pretrial Services with specific information about the trip,

including a detailed travel itinerary and the location where Mr. Danchenko will be staying. Mr.

Danchenko also will continue to abide by all his other release conditions, including reporting to

Pretrial Services.




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       WHEREFORE based on the foregoing reasons, undersigned counsel respectfully requests

that this motion be granted.


Dated: March 30, 2022                          Respectfully submitted,


                                                       /s/
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 30th day of March, 2022, I electronically filed a true copy of

the foregoing motion with the Clerk of Court using the CM/ECF system, which will send a

notification of such filing (NEF) to all parties.



                                                       /s/
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